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UNITED STATES DISTRICT COURT




                     Plaintiff(s),              PRETRIAL ORDER

     - against -                               )7   c~74         (RWS)




Sweet, D. J.

           The above-entitled action has been assigned to Judge
Robert W. Sweet for all purposes. Counsel are directed to meet and
discuss settlement,    pretrial discovery and all preli minary
matters . Interrogatories shall be served in accordance with Local
Rule 33.3. A letter appl ic ation must be made for any interrogatory
sought under Rule 3 3.3( b). All documents produced in response to
request for documents pursuant to Rule 34, Fed. R. Civ. P. shall
be produced as maintained in the usual course of business or as
organized and labeled to correspond with categories requested.

           If this action has been settled or otherwise terminated,
counsel   are   directed to     file    or mail   a  stipulation of
discontinuance, voluntary dismissal, or other proof of termination
of the action prior to the date of the pretrial conference with
Tsz Chan,    Courtroom Clerk to Judge Sweet , Room 18C,           U.S.
Courthouse, 500 Pearl Street , New York, New York 10007; otherwise
counse           di    ted   to    appear   in  courtroom    18C    on
                          at 12 p . m. for a pretrial conference for
the purpos         iscussing settlement with the court, exploring
contemplated motions, stating facts, arranging a plan and schedule
for all discovery, resolving any anticipated discovery issues, and
setting a ti me for trial. Plaintiff (s) ' counsel ARE REQUIRED TO
NOTIFY COUNSEL FOR ALL PARTIES OF THIS CONFERENCE. Prior to the
appearance at the pretrial conference, all counsel appearing in
the action shall have exchanged discovery requests,            e ither
formally or informally, and shall resolve or present all discovery
disputes.
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          If issue has not been joined and plaintiff(s)' counsel
is unaware of the identity of defense counsel, plaintiff (s)'
counsel is directed to appear at the conference EX PARTE; but if
plaintiff(s)' counsel knows the identity of defense counsel, he is
directed to mail a copy of this order to defense counsel forthwith.

           It shall be the responsibility of the counsel now of
record to show this order to the attorney appearing at the pretrial
conference,   trial counsel and any other attorney hereafter
participating in this action. The attorney appearing at the
pretrial conference must be authorized to enter into a settlement
agreement and to make other appropriate stipulations.

          This conference may not be ad j ourned without direction
from the court. Failure to appear at the conference may result in
termination of this action.

          All mail and telephone calls concerning the calendar
status of this action must be directed to the Courtroom Clerk. Any
requests for interpreters must be made at least 24 hours in advance
of the hearing at which such services are required by calling the
Interpreters Office (805-0084).

          Motions before Judge Sweet will be returnable at 12 noon
on Wednesday of each week pursuant to the not i ce published in the
applications or requests for emergency relief must be arranged
through the Courtroom Clerk.

          The New York Law Journal will list actions on the trial
calendar and the number of the courtroom in which Judge Sweet is
s itting.

          It is so ordered.
